Case 2:02-cV-02455-.]DB-STA Document 99 Filed 08/29/05 Page 1 of 2 Page|D 105

IN THE UNITED sTATEs DISTRICT COURT F/LED 3,
FoR THE WESTERN DIsTRICT oF TENNESSEE " £`04; 0
WESTERN DIvlsroN 05 456 29 "~
Pl'[ .
SMITH & NEPHEW, INC., 750 n 2' ’5
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Plamtiff, ‘#D.;;t ;`,_,. ;,;o]`@gwr
as
v. No. 02-2455-13

FEDERAL INSURANCE COMPANY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion to Compel filed on July 29, 2005. This motion is referred
to the United States Magistrate Judge for determination. Any objections to the magistrate judge’s order
shall be made within ten (10) days after service of the order, setting forth particularly those portions
of the order objected to and the reasons for the objections Failure to timely assign as error a defect
in the magistrate judge’s order Will constitute a waiver of that objection _Sg_: Rule 72(a), Federal Rules
of Civil Procedure.

IT Is so 0RDERE1) rhis~§"l<h\day of August, 2005.

 

J. DANIEL BREEN
U o sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:02-CV-02455 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

